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                       UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

  Hunter Killer Productions, Inc. et al.   )    Case No.: 1:19-cv-168-LEK-KJM
                                           )   (Copyright)
                    Plaintiffs,            )
     vs.                                   )   MEMORANDUM IN SUPPORT OF
                                           )   PLAINTIFFS’ MOTION FOR
  Qazi Muhammad Zarlish et al.,            )   DEFAULT JUDGMENT AGAINST
                                           )   DEFENDANT NGHI PHAN NHAT
                    Defendants.            )
                                           )
                                           )

  PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION FOR DEFAULT
        JUDGMENT AGAINST DEFENDANT NGHI PHAN NHAT




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 I.    INTRODUCTION

       Plaintiffs Hunter Killer Productions, Inc., TBV Productions, LLC, Venice PI,

 LLC, Bodyguard Productions, Inc., and LHF Productions, Inc. (“Plaintiffs”) are

 owners of the copyrights for the motion pictures (“Works”), respectively shown in

 Exhibit “1” [Doc. #1-1] to the Complaint [Doc. #1]. Plaintiffs produced and

 marketed these Works at great expense and are currently selling the Works to

 consumers throughout the United States (“US”) including Hawaii. See Complaint

 [Doc. #1] at ¶16. Accordingly, Plaintiffs’ production and marketing of the Works

 share little resemblance to entities hiding in the shadows, buying the copyrights to

 pornographic films (without creating anything), and seeking settlements from

 crowds of John Does embarrassed that they were “caught” downloading tawdry

 titles. See AF Holdings, LLC v. Does 1–1058, 752 F.3d 990, 992 (D.C. Cir. 2014)

 (describing the “modus operandi” of a copyright troll). In the contrary, Plaintiffs

 filed this action for permanent injunctive relief and damages against Defendant Nghi

 Phan Nhat (“Defendant”) among others for intentional inducement and contributory

 copyright infringement in violation of the US Copyright Act, 17 U.S.C. 101 §§ et.

 seq, false description in violation of 15 U.S.C. §1117 and Unfair Competition and

 deceptive trade practices per Hawaii state law on April 3, 2019. [Doc. #1]. Plaintiffs

 voluntarily withdraw their Lanham Act claims and claims under Hawaii state law




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 for false description, unfair competition and deceptive trade practices against

 Defendant.

       As asserted in the Complaint, Defendant distributed the BitTorrent protocol

 apps Show Box app and Popcorn Time from his website apkmirrordownload.com

 (“website”). See Complaint at ¶¶124-125. When Plaintiffs became aware that

 individuals in Hawaii and the US were using apps obtained from Defendant’s

 website to infringe their motion pictures, Plaintiffs’ counsel served notices pursuant

 to 17 U.S.C. § 512(c)(3)(A) of the Digital Millennium Copyright Act (“DMCA”)

 upon Defendant’s domain registrar Namesilo, LLC (“Namesilo”) and provider

 CloudFlare, Inc. (“CloudFlare”). See Exhibits “1” and “2”. Per CloudFlare’s policy,

 CloudFlare notified Defendant of Plaintiffs’ notice.           See CLOUDFLARE

 TRANSPARENCY REPORT, https://www.cloudflare.com/transparency/ [last

 accessed on Sept. 4, 2019] (“It is our policy to notify our customers of a subpoena

 or other legal process requesting their customer…information before disclosure of

 information, whether that legal process comes from the government or private

 parties involved in civil litigation, unless legally prohibited.”)     Namesilo and

 CloudFlare subsequently provided Defendant’s identification information to

 Plaintiffs’ counsel. See Decl. of Counsel at ¶2. On March 12, 2019, Plaintiffs’

 counsel sent a notice to Defendant requesting him to cease and desist promoting and

 distributing Show Box app and Popcorn Time and to pay some of Plaintiffs’


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 damages. See Complaint at ¶126, Exhibit “8”. Defendant ignored Plaintiffs’

 counsel’s communications and continued to distribute Popcorn Time and Show Box

 app on his website. Id. Accordingly, Plaintiffs filed the Complaint. Plaintiffs’

 counsel sent a copy of the Complaint, Summons and Scheduling Order along with a

 waiver of service to Defendant on April 3, 2019. See Decl. of Counsel at ¶3.

 However, Defendant continued to promote and distribute Popcorn Time and Show

 Box app on his website. Id. After receiving leave of this Court to serve Defendant

 by mail, Plaintiffs’ counsel sent a copy of the Complaint, Summons and Scheduling

 Order to Defendant by FedEx. See Decl. of Stephanie Kessner [Doc. #20] at ¶3.

 When Defendant finally begin responding to Plaintiffs’ communications, incredibly

 he faulted Plaintiffs’ counsel for sending the notice as an attachment to the email.

 (“You attach a PDF file, everyone easily disregards that email because the virus

 status is attached to the email, and I easily forget that email…”) Exhibit “3”. When

 Defendant failed to answer the Complaint, the Plaintiffs filed a Request for Entry of

 Default [Doc. #29] which was granted. Prior to the present motion, Plaintiffs’

 counsel sent a copy of the entry of default to Defendant and advised him of Plaintiffs’

 intention to file the present motion for default judgment, but Defendant has not

 replied. Decl. of Counsel at ¶5. All the while, Defendant has continued to promote

 new movie piracy apps available on his website via the social media website Twitter

 under the handle “@apkmirrordl” sometimes numerous times a day. Id. at ¶¶6-7.


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  II.     SUBJECT MATTER JURISDICTION AND VENUE

          This Court has subject matter jurisdiction over this action pursuant to 17

  U.S.C. §§ 101, et. seq., 28 U.S.C. § 1331, and 28 U.S.C. § 1338(a). Venue is proper

  in this District pursuant to 28 U.S.C. § 1391(b) and (c) and 28 U.S.C. § 1400(a).

  III.    PERSONAL JURISDICTION

          A. The Court has jurisdiction pursuant to Fed. R. Civ. P. 4(k)(2), the so-called

  federal long-arm statute.

          1. Plaintiffs’ claims against Defendant arise under Federal Law.

          Rule 4(k)(2) permits a federal court to exercise personal jurisdiction over a

  defendant if “the defendant is not subject to jurisdiction in any state’s courts of

  general jurisdiction,” and “exercising jurisdiction is consistent with the United States

  Constitution and laws.” Rule 4(k)(2) imposes three requirements:


         First, the claim against the defendant must arise under federal law.
         Second, the defendant must not be subject to the personal jurisdiction of
         any state court of general jurisdiction. Third, the federal court's exercise
         of personal jurisdiction must comport with due process.

  Pebble Beach Co. v. Caddy , 453 F.3d 1151, 1159 (9th Cir. 2006) (citations omitted).

  Defendant is a resident of Vietnam, and thus not subject to the personal jurisdiction

  of any state court of general jurisdiction. Complaint at ¶120. Plaintiffs’ claims for

  Inducement and Contributory Copyright Infringement against Defendant arise under

  Federal Law.

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        2.    Defendant has sufficient minimum contacts with the US that the

  maintenance of the suit does not offend traditional notions of fair play and

  substantial justice.

        Due Process requires that a defendant have “minimum contacts with [the

  forum state] such that the maintenance of the suit does not offend traditional

  notions of fair play and substantial justice.” Int'l Shoe Co. v. State of Wash., Office

  of Unemployment Comp. & Placement, 326 U.S. 310, 316 (1945) (citations

  omitted) (internal quotations omitted). A court has specific jurisdiction over a

  nonresident defendant when it “purposefully avails itself of the privilege of

  conducting activities within the forum State,” Burger King Corp. v. Rudzewicz,

  471 U.S. 462, 475 (1985), and the suit “aris[es] out of or relate[s] to the

  defendant’s contacts with the forum.” Daimler, 571 U.S. at 127 (citation omitted);

  Bristol-Myers Squibb Co. v. Superior Ct. of Cal., San Francisco Cty., ___ U.S.

  ___, 137 S. Ct. 1773, 1779-80 (2017) (alteration in original).

        There are two types of personal jurisdiction: “‘general’ (sometimes called

  ‘all-purpose’) jurisdiction and ‘specific’ (sometimes called ‘case-linked’)

  jurisdiction.” Id. Plaintiffs do not assert general jurisdiction. The specific

  jurisdiction inquiry focuses on the relationship between the nonresident defendant,

  the forum, and the litigation. Walden v. Fiore, 571 U.S. 277, 284 (2014). “For a

  State to exercise jurisdiction consistent with due process, the defendant's suit-


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  related conduct must create a substantial connection with the forum State.” Id. This

  requires the relationship to “arise out of contracts that the ‘defendant himself

  creates with the forum state” and “looks to the defendant's contacts with the forum

  State itself, not the defendant’s contacts with persons who reside there.” Id. at 284-

  85.

           To analyze specific jurisdiction, the Ninth Circuit has articulated a three-

  part test to evaluate the sufficiency of a defendant's minimum contacts within the

  forum:


        (1) the defendant must either purposefully direct his activities toward the
        forum or purposefully avail himself of the privileges of conducting
        activities in the forum; (2) the claim must be one which arises out of or
        relates to the defendant's forum-related activities; and (3) the exercise of
        jurisdiction must comport with fair play and substantial justice, i.e., it
        must be reasonable.

  Axiom Foods, Inc. v. Acerchem Int’l, Inc., 874 F.3d 1064, 1068 (9th Cir. 2017)

  (internal citations and quotations omitted).

         In Holland America Line v. Wärtsilä North Amer., the Ninth Circuit

  concluded that “[t]he the due process analysis under Rule 4(k)(2) is nearly identical

  to traditional personal jurisdiction analysis with one significant difference: rather

  than considering contacts between the [Defendant] … and the forum state, we

  consider contacts with the nation as a whole.” Holland America Line v. Wärtsilä

  North Amer, 485 F.3d 450, 462 (9th Cir., 2007). Accordingly, Plaintiffs will address

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  the three-part test of Axiom Foods, Inc. with respect to the United States as the

  forum.

        (i) The defendant purposefully directs his activities toward the US and

  purposefully avails himself of the privileges of conducting activities in the US.

        The Defendant registered his domain with the US company Namesilo.

  Complaint at ¶122. The Defendant uses the US company CloudFlare for the hosting

  of his website. Id. at ¶13, Decl. of Counsel at ¶2. Defendant uses the US social

  media platform Twitter to promote his website. Id. at ¶¶6-7. Defendant uses the US

  company PayPal to receive advertisements funds. Id. at ¶4, Exhibit “9”. Defendant

  uses email service of the US company Google for email communications. Id.

  Defendant’s website is in English, not Vietnamese. The Defendant takes advantage

  of provisions of US law on his website – namely the protections of the DMCA. See

  http://www.apkmirrordownload.com/dmca-policy/ [last accessed on Sept. 2, 2019].

  The United States is the second highest country from which traffic to his website

  originates.   See Complaint at ¶123.          According to the website spyfu.com,

  Defendant’s website is receiving 14,600 clicks per month and $927 in advertisement

  revenue. See Decl. of Counsel at ¶9.

        When registering his domain with the Registrar Namesilo, Defendant agreed

  to jurisdiction and laws of Arizona. Id. at ¶10. When registering for service with

  Cloudflare, Defendant agreed to jurisdiction and laws of California. Id. at ¶11.


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  Under general contract principles, a forum selection clause may give rise to waiver

  of objections to personal jurisdiction, provided that the defendant agrees to be so

  bound. See Holland Am. Line Inc. v. Wartsila N.A., Inc., 485 F.3d 450, 458 (9th Cir.

  2007) (internal citations omitted). Although these agreements provided for Courts

  in Arizona and California, the focus on the test of the Federal Long Arm statute is

  the United States as a whole as the forum. Moreover, these contacts are not the type

  of continuous contacts such as a place of incorporation and principal place of

  business that would constitute general jurisdiction with one of these states, thereby

  ruling out the applicability of the Federal Long Arm statute.

        Defendant’s website is highly interactive. In Cybersell, Inc. v. Cybersell, Inc.,

  130 F.3d 414, the Ninth Circuit addressed the application of the purposeful

  availment principle to websites and stated that “operation of an interactive,

  commercial website is often sufficient” to establish personal jurisdiction. Cybersell,

  Inc. v. Cybersell, Inc., 130 F.3d 414, 419 (9th Cir. 1997). Cybersell defined an

  interactive site as one that allows users to “exchange information with the host

  computer.” Id. at 418. As alleged in the Complaint, Defendant purposely directs

  his electronic activity into the United States and targets and attract a substantial

  number of users in the United States and, more particularly, Hawaii. Complaint at

  ¶12. In his privacy policy, Defendant admits to using cookies and/or web beacons

  to collect data in the ad serving process.             Decl. of Counsel at ¶12,


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  http://www.apkmirrordownload.com/privacy-policy/ [last accessed on Sept. 2,

  2019]. Exhibit “5” illustrates some of the interactive features of Defendant’s website

  and how it is directed towards the US. Advertisements including “a free month of

  Netflix” and “Metlife us app” (emphasis added) among other are displayed. Exhibit

  “5”.

         As alleged in the Complaint, the software application Show Box app and

  Popcorn Time can be downloaded from Defendant’s website. Complaint at ¶¶124-

  125.

         (2) Plaintiffs’ claims arise out of or relates to the Defendant’s forum-related

  activities.

         Plaintiffs’ claims arise from Defendant’s promotion and distribution of Show

  Box app and Popcorn Time from the website that he registered with a US company

  (Namesilo), promotes via a US social media platform (Twitter), hosts via the US

  company (Cloudflare), collects advertisements and deposits payments (of nearly

  $1000/month) into an account of the US company (PayPal). Decl. of Counsel at ¶¶2,

  9.

         (3) The exercise of jurisdiction comports with fair play and substantial justice.

  “The plaintiff bears the burden of satisfying the first two prongs. If the plaintiff

  does so, then the burden shifts to the defendant to prove that exercise of

  jurisdiction would not be reasonable.” Mavrix Photo at 1228 (9th Cir. 2011) (citing


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  Sher v. Johnson, 911 F.2d 1357, 1361 (9th Cir. 1990); Burger King Corp. v.

  Rudzewicz, 471 U.S. 462, 476-78 (1985)). Accordingly, it is not Plaintiffs’ burden

  to address this prong. However, Plaintiffs respectfully submits that since

  Defendant has already consented to be haled into US courts in California and

  Arizona, there is no further burden for Defendant to be haled into a Court in

  Hawaii. Rather, the burden is less because the distance between Vietnam and

  Hawaii is 10,096 km while the distance between Vietnam and California and

  Arizona is 12,466 km and 13,288 km respectively. See Decl. of Counsel at ¶14.

        In summary, nearly all steps of Defendant’s website activities are conducted

  in the United States, from registering the domain, hosting, advertisements, money

  collection and money depositing. The only step not conducted in the United States

  is when Defendant transfers his money from PayPal to his account in Vietnam.

  Plaintiffs are not the only contacts between the Defendant and the United States such

  as in Walden. Accordingly, personal jurisdiction per the Federal long arm statute is

  appropriate.

  IV.   DEFENDANT’S DEFAULT ENTERED

        Pursuant to the Order Granting Plaintiffs’ Second Ex Parte Motion for Order

  Permitting Clerk to perform foreign mailing [Doc. #17], Defendant was served by

  delivering a copy of the Summons, Scheduling Order, Complaint and a Vietnamese

  Machine Translation thereof by FedEx on June 5, 2019. See Decl. of Stephanie


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  Kessner [Doc. #20] at ¶3. Accordingly, Defendant’s responsive pleading was due

  on June 26, 2019. When Defendant failed to appear, plead, or otherwise defend,

  Plaintiffs filed a Rule 55(a) request for the entry of default on July 8, 2019 [Doc. #

  26], which was promptly granted by the Court. [Doc. #29].

  V.    ARGUMENT

        The Complaint alleges claims for Intentional Inducement of Streaming and

  Torrenting and Contributory Copyright Infringement in violation of the United

  States Copyright Act, 17 U.S.C. 101 §§ et. seq.

  A.    Copyright Infringements Have Been Established

        A Plaintiff asserting a copyright infringement claim must demonstrate: “(1)

  ownership of a valid copyright, and (2) copying of constituent elements of the work

  that are original.” Feist Pubs., Inc. v. Rural Telephone Service Co., Inc., 499 U.S.

  340, 361, 111 S.Ct. 1282, 113 L.Ed.2d 358 (1991); LGS Architects, Inc. v.

  Concordia Homes of Nevada, 434 F.3d 1150, 1156 (9th Cir. 2006).                In the

  Complaint, Plaintiffs alleged that they own the copyrights for the Works and

  includes the Copyright Registrations numbers issued by the Register of Copyrights.

  Complaint at ¶16, Exhibit “1” [Doc. #1-1] of the Complaint. “Registration is prima

  facie evidence of the validity of a copyright.” Three Boys Music Corp. v. Bolton,

  212 F.3d 477, 488–89 (9th Cir. 2000)(citing 17 U.S.C. § 410(c) (1994)). Plaintiffs’

  investigator confirmed that each of their motion pictures can be downloaded by the


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  Show Box app. See Decl. of Daniel Arheidt [Doc. #1-10] at ¶¶23, 25-26 and 28.

  That suffices to establish underlying direct infringement. See, e.g., Arista Records

  LLC v. Usenet.com, Inc., 633 F. Supp. 2d 124, 150 n.16 (S.D.N.Y. 2009) (“Courts

  routinely base findings of infringements on the actions of plaintiffs’ investigators.”).

        In Exhibits 8-9 [Docs. ##1-8, 1-9] of the Complaint, Plaintiffs allege direct

  infringements of the motion pictures The Hitman’s Bodyguard and Hunter Killer in

  Hawaii via the Show Box app. In Exhibit 6 [Doc. #1-6] of the Complaint, Plaintiffs

  allege direct infringements of the motion picture London Has Fallen. See Complaint

  [Doc. #1] at ¶208. Because the factual allegations of the Complaint are deemed true,

  Plaintiffs have conclusively established that Defendant induced and contributed to

  infringement of Plaintiffs’ copyrights and that his infringements were both knowing

  and willful. [Doc. #1, at ¶¶ 46-47]. Finally, Defendant himself admitted to being

  behind the website. See Exhibit “3” (“My website only sharing free app get from

  other website and will remove it if authors send request”) and Exhibit “4” (“What’s

  you want? I’m ready remove all content you request.)

  B.    Default Judgment is Appropriate

        Despite being served by FedEx and discussing this case with Plaintiffs’

  counsel, Defendant has failed to appear. See Exhibits 3-4. As a result, Plaintiffs

  requested and received an entry of default [Doc. #29]. Because Defendant has

  chosen to default instead of defending, he has admitted the truth of the allegations


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  asserted in the Complaint. TeleVideo Sys., Inc. v. Heidenthal, 826 F.2d915, 917–18

  (9th Cir. 1987) (“The general rule of law is that upon default the factual allegations

  of the complaint, except those relating to the amount of damages, will be taken as

  true.”). While the court may conduct a hearing to determine damages, See Fed. R.

  Civ. P. 55(b)(2), the court can rely on evidence submitted by Plaintiff. See Fustok

  v. ContiCommondity Servs., Inc., 873. F.2d 38, 40 (2d Cir. 1989).

        Plaintiffs now respectfully requests that this Court enter a default judgment

  against Defendant. When evaluating whether to grant a judgment by default, courts

  consider a number of factors, including:

        (1) the possibility of prejudice to the plaintiff, (2) the merits of plaintiff's
        substantive claim, (3) the sufficiency of the complaint, (4) the sum of money
        at stake in the action, (5) the possibility of a dispute concerning material facts,
        (6) whether the default was due to excusable neglect, and (7) the strong policy
        underlying the Federal Rules of Civil Procedure favoring decisions on the
        merits.

  Eitel v. McCool, 782 F.2d 1470, 1471–72 (9th Cir.1986); see also Parr v. Club

  Peggy, Inc., 2012 U.S. Dist. LEXIS 24758 (D. Haw. Jan. 19, 2012). All of these

  factors support the conclusion that Plaintiffs are entitled to a default judgment.

        1. The possibility of prejudice to Plaintiff

        Plaintiffs would certainly be prejudiced if the Court declines to enter default

  judgment, for it would leave Plaintiffs without any remedy against Defendant, who

  has failed to even show up and contest this dispute. “If Plaintiff[’s] motion for default

  judgment is not granted, Plaintiff[] will likely be without other recourse for
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  recovery.” PepsiCo, Inc. v. California Sec. Cans, 238 F. Supp. 2d 1172, 1177 (C.D.

  Cal. 2002). Despite the fact that Defendant doesn’t deny that Plaintiffs are entitled

  to an award of statutory damages, attorneys’ fees, costs, and a permanent injunction,

  if this Court refuses to enter a default judgment against him, Plaintiffs would be left

  unable to seek damages or even to prevent Defendant from brazenly continuing to

  induce and contribute to infringements of Plaintiffs’ copyrights by promoting and

  distributing the Show Box app and Popcorn Time. Indeed, a refusal would entirely

  frustrate both the Copyright Act and the civil justice system.

        2. & 3. The merits of Plaintiffs’ substantive claims and the sufficiency of

  the Complaint

        To prevail on a claim for contributory copyright infringement, Plaintiffs must

  establish both ownership of a valid copyright and that Defendant intentionally

  induced, caused or materially contributed to direct infringement by others. See

  Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913, 930, 125 S. Ct.

  2764, 2776, 162 L. Ed. 2d 781 (2005); Ellison v. Robertson, 357 F.3d 1072, 1076

  (9th Cir. 2004). Liability for contributory copyright infringement attaches to

  defendants with “actual knowledge and those who have reason to know of direct

  infringement.” 357 F.3d at 1076.

        Plaintiffs have adequately pled their claim for contributory copyright

  infringement against Defendant. In the Complaint, Plaintiffs alleged that they own


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  the copyright for the Works and included valid Certificate of Copyright Registration

  numbers issued by the Register of Copyrights. See Complaint at ¶16; Exhibit “1” to

  Complaint [Doc. #1-1]. Moreover, because the factual allegations of the Complaint

  are deemed true, Plaintiffs have conclusively established that Defendant has induced

  torrenting and streaming of Plaintiffs’ Works, materially contributed to infringement

  of Plaintiffs’ Works, and that his infringements are both knowing and willful by his

  distribution and promotion of Popcorn Time and the Show Box app. Id. at ¶¶46-47.

  Finally, Defendant himself admitted to being the operator of the website for

  promoting and distributing the Show Box app and Popcorn Time. See Exhibits 3-4.

  Defendant has no safe harbor because (1) he placed the Show Box app and Popcorn

  Time on his website himself (Exhibit 4) and (2) he did not have (and still does not

  have) a DMCA agent. See Decl. of Counsel at ¶15. Nonetheless, Defendant did

  not remove the links to Show Box app and Popcorn Time after receiving DMCA

  notifications from CloudFlare and Plaintiffs’ counsel. Id. at ¶¶2-3. Accordingly,

  Defendant not only should have known that he was contributing to infringement of

  Plaintiffs’ Works, but he had actual knowledge of the infringement.

        4. The sum of money at stake in the action

        Plaintiffs are seeking an award of statutory damages of $150,000 for

  Defendant’s willful contributory infringements for the five Works. The amount of




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  money at stake relative to the cost of continued litigation makes the matter

  appropriate for default judgment.

        5. The possibility of a dispute concerning the material facts

        There is no possibility of a dispute arising as to any material fact in this case.

  Because of Defendant’s default, this Court must take the factual allegations asserted

  in the Complaint as true. See TeleVideo Sys., Inc. v. Heidenthal, supra, 826 F.2d at

  917–18. Moreover, Defendant has not made any attempt to contest those allegations

  (or for that matter, even bothered to appear). Finally, Defendant has admitted to

  being the operator of the website. See Exhibits 3 and 4.

        6. Whether the default was due to excusable neglect

        Defendant’s default is not the result of excusable neglect. As discussed above,

  Defendant was served a copy of the Complaint by FedEx on June 5, 2019. See Decl.

  of Stephanie Kessner [Doc. #20] at ¶3. Defendant contacted Plaintiff’s counsel and

  conceded that he was the operator of the website, but faulted Plaintiffs’ counsel for

  sending his notice as an attachment to an email. See Exhibit 3. Defendant replied

  angrily when Plaintiffs’ counsel attempted to schedule a Rule 26(f) conference with

  him. Exhibit “4” (“What’s you want? ...”). Plaintiffs’ counsel sent Defendant a copy

  of the Entry of Default. Decl. of Counsel ¶5. Despite not being required to by Rule

  55(b)(2) of the Federal Rules of Civil Procedure, Plaintiffs have served a copy of

  this Motion on Defendant.


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        Thus, on several occasions, Defendant has been provided with notice of this

  proceeding and the risks for failing to appear. Accordingly, Defendant’s decision to

  neither appear nor defend “cannot be attributed to excusable neglect.” Shanghai

  Automation Instrument Co., Ltd. v. Kuei, 194 F.Supp.2d 995, 1005 (N.D. Cal.2001)

  (reasoning that excusable neglect is not present when Defendant “were properly

  served with the Complaint, the notice of entry of default, as well as the papers in

  support of the instant motion”).

        7. The policy considerations

        While it is true that “cases should be decided upon their merits whenever

  reasonably possible,” Defendant’s failure to respond to this lawsuit makes achieving

  a ruling on the merits entirely unfeasible. See Pena v. Seguros La Comercial, S.A.,

  770 F.2d 811, 814 (9th Cir. 1985). Accordingly, the only way for this case to reach

  a resolution of any kind is to award Plaintiffs default judgment. Absent a judgment

  by default, Plaintiffs will not be made whole and have no mechanism to prevent

  further inducements and contributory infringements of their Works by this same

  Defendant. In summary, as demonstrated above, all of the factors weigh in favor of

  granting Plaintiffs a default judgment against Defendant.

  VI.   Statutory Damages for Willful Copyright Infringement

        Plaintiff elects to receive statutory damages of $150,000 for Defendant’s

  willful inducements and contributions of infringements for the five Works. Pursuant


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  to 17 U.S.C. § 504(c), “A plaintiff may elect statutory damages regardless of the

  adequacy of the evidence offered as to [its] actual damages and the amount of the

  defendant’s profits.” Columbia Pictures Indus., Inc. v. Krypton Broad. of

  Birmingham, Inc., 259 F.3d 1186, 1194 (9th Cir. 2001) (citation omitted). Plaintiff

  is entitled to an award of damages of no less than $750.00 per work and up to

  $30,000.00 per work for a non-willful violation, and for a willful infringement, no

  more than $150,000.00 per work for Defendant’s violations of the Copyright Act.

  17 U.S.C. § 504(c)(1) and (2).

        In similar cases in the Ninth Circuit where a Defendants have contributed to

  infringements by distributing BitTorrent client apps, Courts have not hesitated to

  award statutory damages of $30,000 per Work or higher. In Columbia Pictures, et.

  al v. Justin Bunnell et. al, the Central District of California awarded the Plaintiff a

  total judgment in the amount of $110,970,000 ($30,000 per Work) against a

  Defendant for willful inducement of copyright infringement, contributory copyright

  infringement and vicarious copyright infringement. See Columbia Pictures, et. al v.

  Justin Bunnell et. al, 2:06-cv-01093-FMC-JCx, Doc. #409 (C.D. Cal.) (“Bunnell”)

  (attached as Exhibit “6”). In Bunnell, the Defendant operated a website that enabled

  users to locate and download torrent files. However, a separate BitTorrent client

  program had to be used to actually watch the motion pictures associated with the

  downloaded torrent files. See Burnell, 245 F.R.D. 443, 445 (C.D. Cal. 2007). In


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  that sense, the website operated by Defendant in the present case is worse than that

  of the Defendant in Bunnell because the BitTorrent Clients Show Box app and

  Popcorn Time distributed by Defendant do not require a separate client program.

  Rather, users in Hawaii and the United States can merely search for a title in the

  search bar and immediately download or stream Plaintiffs’ motion pictures. See

  Complaint [Doc. #1] at ¶136.

        In Lions Gate Films Inc. v. Does, the Central District of California awarded

  $150,000 in statutory damages jointly against Defendants for willful infringement

  of the motion picture Expendables 3 by distributing torrent files from the website

  limetorrents.com among other websites. See Lions Gate Films Inc. v. Does, No.

  2:14-cv-6033-MMM-AGRx, 2014 WL 3895240, at 3, 6 (C.D. Cal. Aug. 8, 2014),

  Id. at Doc. 68 (attached as Exhibit “7”).

        Here similarly, Defendant continued to distribute Popcorn Time and Show

  Box app despite notifications from Plaintiffs’ Counsel and CloudFlare. As explained

  below, Defendant continues to distribute movie piracy apps in wake of this lawsuit.

  Accordingly, his conduct is willful. Therefore, the willful amount of statutory

  damages (total of $150,000 for the five Works) is appropriate.

  VII. Plaintiffs are Entitled to Injunctive Relief.

        Plaintiffs requests that the Court grant its request for injunctive relief,

  permanently barring Defendant from inducing and contributorily infringing


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  Plaintiffs’ copyrights in the Works and ordering the Defendant’s domain registrar

  Namesilo and provider CloudFlare to cease facilitating access to Defendant’s

  domain and any or all domain names and websites through which Defendants

  engaged in the distribution and promotion of the Show Box app. The Court is

  authorized to grant permanent injunctive relief to prevent or restrain copyright

  infringement. See 17 U.S.C. §502(a) (“Any court having jurisdiction of a civil action

  arising under this title may, subject to the provisions of section 1498 of title 28, grant

  temporary and final injunctions on such terms as it may deem reasonable to prevent

  or refrain infringement of a copyright.”)

        A Plaintiff is required to satisfy the following four-factor test to obtain a

  permanent injunction: (1) that it has suffered an irreparable injury; (2) that remedies

  available at law, such as monetary damages, are inadequate to compensate for that

  injury; (3) that, considering the balance of hardships between the plaintiff and

  defendant, a remedy in equity is warranted; and (4) that the public interest would not

  be disserved by a permanent injunction. See eBay Inc. v. MercExchange, L.L.C.,

  547 U.S. 388, 391 (2006); Cottonwood Envtl. Law Ctr. v. U.S. Forest Serv., 789 F.3d

  1075, 1088 (9th Cir. 2015). “As a general rule, a permanent injunction will be

  granted when liability has been established and there is a threat of continuing

  violations.” MAI Systems Corp. v. Peak Computer, Inc., 991 F.2d 511, 520 (9th Cir.

  1993).


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        Despite being served the Complaint for this litigation and communications

  with Plaintiffs’ counsel, Defendant continues to promote and distribute piracy apps

  on his website. For example, Defendant is currently distributing copies of the piracy

  app         “Movie           Play         Box”           at             the     website

  https://www.apkmirrordownload.com/apk/movie-play-box-1-1-1-110-apk/                 [last

  accessed on September 2, 2019]. Defendant is currently distributing the piracy app

  “Torrent Movie Downloader”. Notably, he apparently put this app on the website

  and made it available to distribute to the public on August 25, 2019 – well after he

  was            aware            of             the            current         litigation.

  https://www.apkmirrordownload.com/apk/torrent-movie-downloader-2019-1-3-1-

  15-apk/ [last accessed on September 2, 2019]. Defendant is also currently

  distributing the software piracy app “HD Movies Free” at the website

  https://www.apkmirrordownload.com/apk/hd-movies-free-2019-1-1-2-apk/                [last

  accessed on Sept. 2, 2019]. The Defendant also placed this app on his website after

  being notified of the present litigation. Defendant is also distributing the software

  app Movieflix as discussed previously. Id. at ¶7.

        In copyright infringement cases, the Ninth Circuit requires a plaintiff to

  “demonstrate a likelihood of irreparable harm as a prerequisite for injunctive relief,

  whether preliminary or permanent.” Flexible Lifeline Sys., Inc. v. Precision Lift, Inc.,

  654 F.3d 989, 998 (9th Cir. 2011). Unless this Court grants an injunction, Defendant


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  will continue to be the source for other piracy apps that will be used by individuals

  in Hawaii, throughout the United States, and the world to reproduce Plaintiffs’

  Works in violation of Plaintiffs’ exclusive rights to publicly perform, distribute and

  make copies of their Works. Granting an injunction is the only way to prevent

  further infringement.

  VIII. Plaintiffs are Entitled to Attorney’s Fees and costs.

        The Copyright Act states that a district court “may . . . award a reasonable

  attorney’s fee to the prevailing party as part of the costs.” 17 U.S.C. § 505. The

  Supreme Court has provided the following nonexclusive list of factors for district

  courts to consider in a making a fee determination under the Copyright Act: (1)

  frivolousness; (2) motivation; (3) “objective unreasonableness (both in the factual

  and in the legal components of the case)”; and (4) “the need in particular

  circumstances to advance considerations of compensation and deterrence.” Fogerty

  v. Fantasy, Inc., 510 U.S. 517, 534 n.19 (1994). The Ninth Circuit has held that

  courts may also consider these factors: “[T]he degree of success obtained in the

  litigation, the purposes of the Copyright Act, and ‘whether the chilling effect of

  attorney’s fees may be too great or impose an inequitable burden on an impecunious

  [litigant].’” Glacier Films (USA), Inc. v. Turchin, 896 F.3d 1033, 1037 (9th Cir.

  2018) (quoting Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657, 675 (9th Cir. 2017)).

  Furthermore, the Ninth Circuit has “emphasized that district courts should ‘accord


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  substantial weight to’ the ‘reasonableness of [the] losing party’s legal and factual

  arguments.’” Id.

        Plaintiffs assert that the following factors support granting its motion for

  attorney’s fees: (1) Plaintiffs’ degree of success in the litigation; (2) deterrence; (3)

  furtherance of the purposes of the Copyright Act; and (4) the objective

  unreasonableness of the losing party’s (Defendant’s) litigation conduct.

  A. The Degree of Success in the Litigation

        In this case, Plaintiffs’ suit against Defendant was a total success. Plaintiffs

  alleged that Defendant willfully violated its exclusive rights under the Copyright

  Act. [Doc. #1 at ¶¶172-204]. Defendant has defaulted and ceased distributing and

  promoting the Show Box app and Popcorn Time.

  B. Deterrence

        The interest of deterrence weighs in favor of granting Plaintiffs’ motion for

  attorney’s fees. Defendant continued to distribute the movie piracy applications

  Popcorn Time and the Show Box app after receiving notifications from Plaintiffs’

  counsel and CloudFlare and continues to distribute and promote movie piracy apps

  now. See Decl. of Counsel at ¶¶3, 6-7, and 16-18. Accordingly, the interest of

  deterrence weighs in favor of fee-shifting.

  C. The Goals of the Copyright Act




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         The Copyright Act is intended to “‘promote the Progress of Science and useful

  Arts’ by ‘assuring authors the right to their original expression’ and ‘encouraging

  others to build freely upon the ideas and information conveyed by a work.’” Feist

  Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 349-50 (1991)). Defendant’s

  distribution of Popcorn Time and Show Box app results directly in infringements of

  Plaintiffs’ Works. Thus, Defendant’s conduct frustrates the goals of the Copyright

  Act.

  D. Objective Unreasonableness

         The objective unreasonableness of Defendant’s conduct also supports fee-

  shifting. Defendant’s conduct forced Plaintiffs to file the present motion for default.

  Defendant continues to promote and distribute movie piracy apps. The

  unreasonableness of Defendant’s conduct during this litigation supports awarding

  attorney’s fees to Plaintiff.

  E. Calculation of Attorney’s Fees

         Reasonable attorney’s fees are generally based on the traditional “lodestar”

  calculation set forth in Hensley v. Eckerhart, 461 U.S. 424, 433 (1983). See Fisher

  v. SJB-P.D., Inc., 214 F.3d 1115, 1119 (9th Cir. 2000). The court must determine a

  reasonable fee by multiplying “the number of hours reasonably expended on the

  litigation” by “a reasonable hourly rate.” Hensley, 461 U.S. at 433. Second, the court

  must decide whether to adjust the lodestar amount based on an evaluation of the


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  factors articulated in Kerr v. Screen Extras Guild, Inc., 526 F.2d 67, 70 (9th Cir.

  1975), which have not been subsumed in the lodestar calculation. See Fisher, 214

  F.3d at 1119 (citation omitted). The factors the Ninth Circuit articulated in Kerr are:

        (1) the time and labor required, (2) the novelty and difficulty of the questions
        involved, (3) the skill requisite to perform the legal service properly, (4) the
        preclusion of other employment by the attorney due to acceptance of the case,
        (5) the customary fee, (6) whether the fee is fixed or contingent, (7) time
        limitations imposed by the client or the circumstances, (8) the amount
        involved and the results obtained, (9) the experience, reputation, and ability
        of the attorneys, (10) the “undesirability” of the case, (11) the nature and
        length of the professional relationship with the client, and (12) awards in
        similar cases.

  Kerr, 526 F.2d at 70. The subsumed factors taken into account in the “lodestar”

  calculation are: “‘(1) the novelty and complexity of the issues, (2) the special skill

  and experience of counsel, (3) the quality of representation, . . . (4) the results

  obtained,’ Morales v. City of San Rafael, 96 F.3d 359, 364 n.9 (9th Cir. 1996), and

  (5) the contingent nature of the fee agreement,” City of Burlington v. Dague, 505

  U.S. 557, 112 S. Ct. 2638, 2643, 120 L. Ed. 2d 449 (1992). Once calculated, the

  “lodestar” is presumptively reasonable. See Pennsylvania v. Delaware Valley

  Citizens’ Council for Clean Air, 483 U.S. 711, 728 (1987); see also Fisher, 214 F.3d

  at 1119 n.4 (stating that the lodestar figure should only be adjusted in rare and

  exceptional cases).




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        Plaintiff requests the following lodestar amount for attorneys’ fees it incurred

  in this case as detailed in the attached Declarations of Counsel with regards to

  Defendant:

  KERRY CULPEPPER          46.83 hours @ $250/hour =         $11,707.50

  Additionally, Plaintiff seeks to recover the Hawaii General Excise Tax related to

  those fees in the amount of $518.64 and taxable costs of $2639.08.

         The taxable costs requested for Defendant include the fee to serve the

  complaint and one quarter of the $400 filing fee for filing the complaint.

  Particularly, the original complaint included 5 Defendants, but Plaintiffs asserted

  joint liability against Defendants Pebblebridge Technologies, LLP and Vishnudath

  Reddy Mangilpudi. Therefore, Plaintiff is only apportioning 1/4 of the filing fee to

  Defendant.

        In determining whether an hourly rate is reasonable, the Court considers the

  experience, skill, and reputation of the attorney requesting fees. See Webb v. Ada

  County, 285 F.3d 829, 840 & n.6 (9th Cir. 2002). The reasonable hourly rate should

  reflect the prevailing market rates in the community. Although attorneys are

  required to provide evidence that the rate charged is reasonable, see Jordan v.

  Multnomah County, 815 F.2d 1258, 1263 (9th Cir. 1987), this Court is better aware

  of the prevailing rates in the community, having had the opportunity to review fee

  requests of many attorneys. In ME2 Productions, Inc. v. Pumaras, this Court


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  determined that a billing rate of $250 for Plaintiff’s Counsel was consistent with the

  prevailing rates in the community. See ME2 Productions, Inc. v. Pumares, Civ. No.

  1:17-00078 SOM-RLP, Doc. #42, at 18 (D. Haw. Oct. 19, 2017).

  IX.   Conclusion.

        Plaintiffs filed this lawsuit to protect their copyrighted movies from online

  piracy resulting from the Show Box app and Popcorn Time. It is undisputed that

  Defendant willfully and intentionally contributed to Plaintiffs’ copyrights by

  distributing and promoting Popcorn Time and the Show Box app. Defendant’s

  blatant disregard of copyright laws warrants a statutory award, not only to protect

  Plaintiffs’ interests, but also to deter others from doing the same.

        Accordingly, Plaintiffs respectfully request that the Court enter default

  judgment against Defendant and issue an award of statutory damages in the amount

  of $150,000, reasonable attorneys’ fees in the amount of $11,707.50, Hawaii General

  Excise Tax related to those fees in the amount of $518.64 and taxable costs of

  $2639.08.

        Additionally, Plaintiffs request that the Court permanently enjoin Defendant

  from directly and contributorily infringing Plaintiffs’ copyrighted Works, and order

  Defendant’s Registrar Namesilo, provider CloudFlare, and those in privity with

  Defendant and with notice of the injunction, including any Internet search engines,

  Web hosts, domain-name registrars, and domain name registries and/or their


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  administrators that are provided with notice of the injunction, from facilitating

  access to any or all domain names and websites through which Defendant engages

  in the distribution and promotion of the Show Box app or other software applications

  that induce and/or contribute to infringement of Plaintiffs’ Works.



               DATED: Kailua-Kona, Hawaii, September 6, 2019.


                                  CULPEPPER IP, LLLC

                                  /s/ Kerry S. Culpepper
                                  Kerry S. Culpepper

                                  Attorney for Plaintiffs




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